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ws3S 44 (Rev. 2/08)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other
by local rules of court. This form, approved by the Judicial Conference o

the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

CIVIL COVER SHEET

the United States in September 1974, is required for the use of t
NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

papers as re
he Clerk of

quired by law, except as provided
‘ourt for the purpose of Initiating

I,

(a) PLAINTIFFS

N.V.E,, Inc,

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S, PLAINTIFF CASES)

DEFENDANTS

(ec) Altorney’s (Firm Name, Address, and Telephone Number)

David A. Carter, Esq., David A. Carter, P.A., One Lincoln Place, 1900

Glades Road, Suite 401, Boca Raton, FL 33431. (561)750-6999

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT
LAND INVOLVED.

John P, Acunto, Jr., John Cammarano, AdSouth Partners, Inc.,

Palm Beach

Attorneys (If Known)

(a) Check County Where Action Arose: O MIAMI-DADE G MONROE G BROWARD 4 PALM BEACH O MARTIN @ ST.LUCIZ O INDIAN RIVER O OKEECHOBER

HIGHLANDS

IL, BASIS OF JURISDICTION

(Placo an *X" in One Box Only)

(For Diversity Cases Only)

Wi, CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “X" in One Box for Plaintiff

and One Box for Defendant)

Ol U.S. Government yo 3 Federal Question PTF DEF PTF DEF
Ptointiff (U.S, Government Nol a Party) Citizen of This State a t 0 1 Incorporated or Principal Place o 4 o4
of Business tn This Stale
O 2. US. Government G4 Diversity Citizen of Another Sinte =. 2 O 2 Incorporated and Principal Place ao s o3
Defendant (Indicate Citizenship of Parties in tom U1) of Business In Another State
Citizen or Subject of a a 3 Oo 3 Forcign Nation go 6 O6
Foreign Country
IV, NATURE OF SUIT (pince an “x” in One Box Only)
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUP'ECY OTHER STATUTES |
O 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture O 422 Appeal 28 USC 158 (9 400 Stole Reapportionment
O 120 Marine O 310 Airplane O 362 Personal Injury- |G 620 Other Food & Drug O 423 Withdrawal 410 Antiteust
O 130 Miller Act G 315 Alrplano Product Med. Malpractice OG 625 Drug Related Seizure 28 USC 157 GO 430 Banks and Banking
O 140 Negotinble Instrument Liability 0 365 Personal Injury - of Property 21 USC 881 G 450 Commerce
CO 150 Recovery of Overpayment |O 320 Assault, Libel & Product Liability G 630 Liquor Laws PROPERTY RIGHTS G 460 Doportation
& Enforcement of Judgment Stander O 368 Asbestos Personal |G 640 R.R, & Truck O 820 Copyrights O 470 Racketeer Influenced and
O 151 Medicare Act 0 330 Federal Employers’ Injury Product (1 650 Airline Regs. GO 830 Patent Corrupt Orgonizations
G 152 Recovery of Dofaultad Liability Liability 1 660 Oceupational O 840 Trademark fF 480 Consumer Credit
Student Loans G 340 Marine PERSONAE PROPERTY Safety/Health O 490 Cable/Sal TV
(Exel, Veterans) 345 Marine Product GQ = 370 Other Fraud GO 690 Othor OC 810 Selective Service
QO 153 Recovery of Overpayment Liability O 371 Truth in Lending LABOR SOCIAL SECURITY O 850 Sccurities/Commodities/
of Veteran's Benefits 0 350 Motor Vehicle O 380 Other Personal G 710 Fair Labor Standards O 861 HIA (1395ff} Exchange
G 160 Stockholders’ Suits (1 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) OG 875 Customer Challenge
Of 190 Other Contract Product Liability 385 Property Damage [| O 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(g)) 12USC 3410
O 195 Contenct Product Liabilily |O 360 Other Personal Product Liability O 730 Labor/Mgmt.Reporling | 864 SSID Title XVI G 890 Other Statutory Actions
OF 196 Franchise Injury & Disclosure Act 0 865 RSI (405(g)) O 891 Agricultural Acts
{ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |O 740 Railway Labor Act FEDERAL TAX SUITS O 892 Bconomic Stabilization Act
OG 230 Land Condemnation O 441 Voting O 510 Motions to Vacate |O 790 Other Labor Litigation © 870 Taxes (U.S. Plaintift 1 893 Environmental Matters
© 220 Foreclosure 442 Employment Sentence O 791 Empl, Ret, Inc. Security or Dofendant) O 894 Energy Allocation Act
© 230 Ront Lease & Ejectment O 443 Housing/ Habens Corpus: Act O &71 IRS—Third Party o
O 240 Torts to Land Accommodations G 530 General 26 USC 7609 895 Proodom of Information Act
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"4 } | ' tet ‘ a
Proceeding State Court (see VI below) Reopened (specify) Litigation Judgment

VL RELATED/RE-FILED

CASE(S).

(See instructions
second page):

a) Re-filed Case O YES ONO

JUDGE

b) Related Cases O YES ONO

‘DOCKET NUMBER

VIL CAUSE OF ACTION

diversity):

Registration of Foreign Judgment

LENGTH OF TRIAL via days estimated (for both sides to try entire case)

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless

VIIL REQUESTED IN

COMPLAINT:

O CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C,P, oN

DEMAND $

CHECK YES only if demanded in complaint:

ABOVE INFORMATION IS TRUE & CORRECT
THE BEST OF MY KNOWLEDGE

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FOR OFFICE USE ONLY

AMOUNT

JURY DEMAND: O Yes Gf No
DATE
May 5, 2010
RECEIPT # tFP

Case 9:10-mc-80575-WPD Document 1 Entered on FLSD Docket 05/06/2010 Page 2 of 6

AO 451 (Rev. 01/09) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
District of New Jersey

N.V.E., INC.

Plaintiff
Vv

ADSOUTH PARTNERS, INC., et al
Defendant

Civil Action No. 05-35692 Vie

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 04/21/2009

I also certify that, as appears from this court's records, no motion listed in Fed, R. App. P. 4(a)(4)(A) is pending
before this court and that no appeal has been filed or, if one was filed, that it is no longer pending.

Date: Navel 3 2.00 Do wee MMilhii.

/ CLE COURT

Signature of Clerk or Deputy Clerk

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

In Re: N.V.E. Inc,

N.V.E. Inc.

Plaintiff(s)

AdSouth Partners, Inc., John Cammarano,
Nelson Paraiso, John P. Acunto, Jr.,
Jeffrey Hall and Anton Lee Wingeier and
John and Jane Does 1 through to.

Case No.: 06-16186

Hearing Date: n/a

06-1807

Adv. No.: 06=t886

Judge: Novalyn Winfield

Defendant(s)
ORDER
The relief set forth on the following pages, numbered two (2) through 3 is
hereby ORDERED.

[Nal £1PHY

DATED: 4/21/2009

Honorable Novalyn L, Wintield
United States Bankruptcy Judge

Case 9:10-mc-80575-WPD Document 1 Entered on FLSD Docket 05/06/2010 Page 4 of 6

UNITED STATES BANIKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)
BROWN MOSKOWITZ & KALLEN, P.C.

75 Main Street, Suite 203

Millburn, Néw Jersey 07041

(973) 376-0909

Kenneth L. Moskowitz (IM 0990)

In Re: Case No. 05-35692
N.V.E., Inc., Judge: Novalyn L. Winfield
a/k/a NVE Pharmaceuticals
a/k/a NVE, Inc. Chapter 11
a/k/a NVE Pharmaceuticals, Inc.
a/k/a NVE Enterprises and
a/k/a NVE Enterprises, Inc.
Debtor.
N.V.E,, Inc.,
Plaintife Adv. Proc, No. 06-1807

vs.

AdSOUTH PARTNERS, INC., JOHN P. ACUNTO,
-JR., JOHN CAMMARANO, NELSON PARAISO,
JEFFREY HALL and ANTON LEE WINGEIER, and
JOHN AND JANE DOES 1 through 10.

Defendants,

ORDER GRANTING REQUEST OF PLAINTIFF N.V.E., INC. FOR ENTRY OF A
FINAL JUDGMENT BY DEFAULT AGAINST DEFENDANTS ADSOUTH PARTNERS,
INC., JOHN P. ACUNTO AND JOHN CAMMARANO
THIS MATTER having been brought before the Court upon the request of N.V.E., Inc.
(“NVE”), by and through its attorneys, Brown Moskowitz & Kallen, P.C., for entry of an Order,
pursuant to Fed, R. Civ. P. 55, made applicable herein by Fed. R. Bankr, P. 7055, granting NVE
a Final Judgment by Default against defendants, AdSouth Partners, Inc. (“AdSouth”), John P.

Acunto (“Acunto”), and John Cammarano (“Cammarano”), jointly and severally;, and a Default

having previously been entered defendants Cammarano and AdSouth on or about June 19, 2007,

Approved by Judge Novalyn L. Winfield April 21, 2009

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and against defendant Acunto on January 9, 2008; and the Court having considered the facts set
forth in the proofs submitted by NVE in support of its motion, namely the Certifications, with
exhibits, of Erling Jensen (“Jensen Cert.”), Kenneth L. Moskowitz (“Moskowitz Cert.”) and John
McTigue (“McTigue Cert.”), as well as the Declaration of Nelson Paraiso (“Paraiso Decl.”), and
plaintiff's Second Amended Complaint; and good cause having been shown, it is hereby ordered,
adjudged and decreed as follows:

1, Final Judgment against defendant AdSouth Partners, Inc. be and the same is
hereby entered on Counts XI, XI, and XIU of plaintiffs Second Amended Complaint.

2. Final Judgment against defendant John Acunto be and the same is hereby entered
on Counts I and II of plaintiff's Second Amended Complaint.

3. Final Judgment against defendant John Cammarano be and the same is hereby
entered on Counts II and IV of plaintiff's Second Amended Complaint.

4, Final Judgment is hereby awarded in favor of plaintiff and against defendants
AdSouth, Acunto and Cammarano, jointly and severally, in the principal amount of

$3,490,028.28. plus pre-judgment interests and costs of suit.

Honorable Novalyn L. Winfield
United States Bankruptcy Judge

Dated:

Approved by Judge Novalyn L. Winfield April 21, 2009
Case 9:10-mc-80575-WPD Document 1 Entered on FLSD Docket 05/06/2010 Page 6 of 6

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United States Bankruptcy Court

District of New Jersey
In re
N.V.E., Inc. v. Adsouth Partners, et al Bankruptcy Case No. 05-35692 Ady. 09-01975
Debtor

EXEMPLIFICATION CERTIFICATE

I, James J. Waldron , clerk of the bankruptcy court for this district and keeper
of the records and seal of the court certify that the documents attached are true copies of

udgment | by Default against AB South Partners, Inc., John P Acunto John Commarano

Ee gS
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2 the records of the court. In testimony of this statement, I sign my name,

affix the ou thtg court at _ Newark , in the State of New Jersey,
UF ADeCnGerps, 2009
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irt] Yokes Clerk of the Bankruptcy Court
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Moar ceca yeti

I, Novalyn L. Winfield — bankruptcy judge for this district certify that James J. Waldron
is and was at the date of the above certificate clerk of the bankruptcy court for this district,
duly ‘appointed and sworn, and keeper of the records and seal of the court, and that the above
certificate of the clerk and the clerk’s attestation 7 due form of law.

December 28, 2009 Cv. 0d k. LD ALS

Date . apkruptey Judge

I, James J. Waldron, clerk of the bankruptcy court for this district and keeper
seal of the court certify that the Honorable Novalyn L. Winfield is and was on the
date of the above certificate a judge of this court, duly appointed and sworn; and that I am well
acquainted with this handwriting and official signature and know and certify the signature
en gas to be that of the judge.

olhitestingnyot this statement, I sign my name, and affix the seal of the court at
4 rN A in the State of New Jersey, this December 28, 2009

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